               Case 1:09-cr-00388-DAD Document 20 Filed 04/22/10 Page 1 of 3



 1   CARL M. FALLER SBN: 70788
     Attorney at Law
 2   Post Office Box 912
     Fresno, CA 93714
 3   Tel: 559-226-1534
     Fax: 559-734-0867
 4   carl.faller@fallerdefense,com
 5   Attorney for Defendant
     SARAH RENEE GREER
 6

 7

 8
                            IN THE UNITED STATED DISTRICT COURT
 9
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                       )   Case No.: 1:09-cr-00388 LJO
12                                                   )
                    Plaintiff,                       )   STIPULATION TO CONTINUE
13                                                   )   STATUS CONFERENCE AND MOTIONS
            vs.                                      )   HEARING
14                                                   )
     SARAH RENEE TODD,                               )   Date: April 23, 2010
15                                                   )   Time: 9:00 am
                    Defendant.                       )   Honorable Lawrence J. O’Neill
16
            It is hereby stipulated by and between the parties hereto, through their respective
17
     attorneys of record, as follows:
18
            A status conference and motions hearing in this matter is currently set for April 23, 20109
19
     at 9:00 am.
20
            By agreement of the parties, it is requested that the status conference and motions hearing
21
     be continued until May 13, 2010 at 9:00 am.
22
            The reason for this request is that both counsel for the defendant and for the government
23
     believe that a resolution of the case as to this defendant is possible, even though the codefendant
24
     is not yet before the court. However, due to the press of other cases, including a brief for the
25
     Court of Appeals and a trial on the part of government counsel, and a pending trial on the part of
26
     defense counsel, we have not been able to have sufficient negotiations in that regard.
27

28
               Case 1:09-cr-00388-DAD Document 20 Filed 04/22/10 Page 2 of 3



 1          It is further stipulated that the time between April 23, 2010 and May 13, 2010 shall be
 2   excluded under the Speedy Trial Act, Title 18, United States Code, Sections 3161(h)(7)(A) and
 3   (h)(7)(B)(iv), in that the ends of justice are served by such exclusion, to allow the parties to
 4   explore pretrial resolution of the matter and to conduct further plea negotiations. Based on the
 5   above, it is respectfully requested that the status conference be continued as set forth above.
 6   Dated: April 21, 2010                                  Respectfully submitted,
 7

 8                                                          /s/ Carl M. Faller_____
                                                            CARL M. FALLER
 9
                                                            Attorney for Defendant
10
                                                            BENJAMIN B. WAGNER
11                                                          United States Attorney

12
                                                     By     /s/ Mark J. McKeon____
13
                                                            MARK J. McKEON
14                                                          Assistant U.S. Attorney
                                                            Attorney for the United States
15

16          ORDER:
17
            Based upon the stipulation of the parties and good cause appearing, it is hereby
18
     ORDERED that the status conference and motions hearing currently set for April 23, 2010 at
19
     9:00 am, be continued to May 13, 2010 at 9:00 am.
20
            It is further ORDERED that the time between April 23, 2010 and May 13, 2010 shall be
21

22   excluded under the Speedy Trial Act, Title 18, United States Code, Sections 3161(h)(7)(A) and

23   (h)(7)(B)(iv), in that the ends of justice are served by such exclusion, to allow for further
24   settlement negotiations in the expectation that the case, as to this defendant, will be concluded by
25
     a negotiated plea.
26
     ///
27
     ///
28
              Case 1:09-cr-00388-DAD Document 20 Filed 04/22/10 Page 3 of 3


            However, on May 13, 2010, we either take a change of plea or set a trial date (out far
 1

 2   enough to that the co-defendant will be present and ready).

 3

 4   DATED: April 22, 2010
                                                         _/s/ Lawrence J. O’Neill_________
 5
                                                         LAWRENCE J. O’NEILL
 6                                                       United States District Judge

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
